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            U N I T E D S TAT E S D I S T R I C T C O U RT
        M I D D L E D I S T R I C T O F P E N N S Y L VA N I A


William C. Toth Jr., et al.

                   Plaintiffs,
                                       Case No. 1:22-cv-00208-JPW-KAJ-PS
v.

Leigh M. Chapman, et al.,

                   Defendants


RESPONSE TO DEFENDANTS’ MOTIONS TO DISMISS FOR
     LACK OF SUBJECT-MATTER JURISDICTION
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    The defendants present numerous arguments that have nothing to do with juris-

diction or justiciability, even though the defendants’ motion is styled as a Rule

12(b)(1) motion and insists that it is addressing “only justiciability arguments con-

cerning Plaintiffs’ Elections Clause claims.” Defs.’ Br., ECF No. 61, at 1 n.1. The

alleged absence of a cause of action is not a jurisdictional objection,1 laches is an af-

firmative defense (rather than a jurisdictional obstacle),2 and the Purcell doctrine

merely restricts the courts’ remedial powers on the eve of an election. The plaintiffs

will nevertheless address each of the arguments presented, without conceding that

these non-jurisdictional arguments have any place in a Rule 12(b)(1) motion. If the

Court wishes to rule on these issues, it should construe the defendant’s filing as a

motion to dismiss under both Rule 12(b)(1) and 12(b)(6). See Fed. R. Civ. P. 12(g)(1)
(allowing joiner of Rule 12(b)(1) and 12(b)(6) motions).

              RESPONSE TO BACKGROUND SECTIONS
    The “background” portion of the defendants’ and intervenors’ briefs include

false statements of fact and law. The defendants, for example, claim that “[w]hen the

political branches are unable to agree, ‘it becomes the judiciary’s role to ensure a

valid districting scheme.’” Defs.’ Br., ECF No. 61, at 2 (quoting League of Women

Voters of Pennsylvania v. Commonwealth, 645 Pa. 576, 582 n.6 (2018)). That is untrue.




1. See Steel Co. v. Citizens for a Better Environment, 523 U.S. 83, 89 (1998) (“[T]he
   absence of a valid (as opposed to arguable) cause of action does not implicate sub-
   ject-matter jurisdiction, i.e., the courts’ statutory or constitutional power to adju-
   dicate the case.”).
2. See Fed. R. Civ. P. 8(c)(1).


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When the political branches are unable to agree, the remedy is set forth in 2 U.S.C.

§ 2a(c):

      Until a State is redistricted in the manner provided by the law thereof
      after any apportionment, the Representatives to which such State is en-
      titled under such apportionment shall be elected in the following man-
      ner: (1) If there is no change in the number of Representatives, they shall
      be elected from the districts then prescribed by the law of such State,
      and if any of them are elected from the State at large they shall continue
      to be so elected; (2) if there is an increase in the number of Representa-
      tives, such additional Representative or Representatives shall be elected
      from the State at large and the other Representatives from the districts
      then prescribed by the law of such State; (3) if there is a decrease in the
      number of Representatives but the number of districts in such State is
      equal to such decreased number of Representatives, they shall be
      elected from the districts then prescribed by the law of such State; (4)
      if there is a decrease in the number of Representatives but the number
      of districts in such State is less than such number of Representatives,
      the number of Representatives by which such number of districts is ex-
      ceeded shall be elected from the State at large and the other Represent-
      atives from the districts then prescribed by the law of such State; or (5)
      if there is a decrease in the number of Representatives and the number
      of districts in such State exceeds such decreased number of Represent-
      atives, they shall be elected from the State at large.
2 U.S.C. § 2a(c). Of course, the requirements of 2 U.S.C. § 2a(c)(1) and (2) will often

result in a malapportioned congressional map, which the judiciary must remedy if

the political branches fail to do so. See Wesberry v. Sanders, 376 U.S. 1 (1964); Growe

v. Emison, 507 U.S. 25 (1993). And the at-large elections requirement in 2 U.S.C.

§ 2a(c)(5) will present issues under the single-member district requirement of 2

U.S.C. § 2c, which courts may remedy so long as there is time to impose a court-

created map of single-member districts without disrupting the election process. See




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Branch v. Smith, 538 U.S. 254, 275 (2003) (plurality opinion of Scalia, J.). But there

is no freestanding authority for the Pennsylvania judiciary to draw a congressional

map in response to a legislative impasse. The fallback regime is specified in 2 U.S.C.

§ 2a(c), and the judiciary’s role is limited to correcting constitutional defects or vio-

lations of federal law that result from implementing the relevant provision of 2 U.S.C.

§ 2a(c). The following chart illustrates the judiciary’s role:

                        State Gains Seat(s)          No change            State Loses Seat(s)
 Requirement of 2       Use old map; elect        Use old map. See               Elect all
 U.S.C. § 2a(c) if an   new representatives      2 U.S.C. § 2a(c)(2).       representatives at
 impasse occurs             at large. See                                       large. See
                        2 U.S.C. § 2a(c)(1).                               2 U.S.C. § 2a(c)(5).
 Legality?               Unconstitutional         Unconstitutional              Violates
                         under Wesberry.          under Wesberry.            2 U.S.C. § 2c.
 Can state judiciary           Yes.                     Yes.              Yes, but only if there
 remedy?                See Growe v. Emison,     See Growe v. Emison,      is time to impose a
                        507 U.S. 25 (1993).      507 U.S. 25 (1993).        new map without
                                                                              disrupting the
                                                                          election process. See
                                                                          Branch v. Smith, 538
                                                                            U.S. 254, 274–75
                                                                            (2003) (plurality
                                                                          opinion of Scalia, J.)
 How should state               Fix                      Fix               Impose a new map,
 judiciary remedy?      malapportionment         malapportionment          while following the
                          problem, while           problem, while             “policies and
                        deviating as little as   deviating as little as     preferences of the
                           possible from            possible from         State, as expressed in
                           previous map             previous map              statutory and
                                                                              constitutional
                                                                           provisions or in the
                                                                            reapportionment
                                                                          plans proposed by the
                                                                            state legislature.”
                                                                           Branch, 538 U.S. at
                                                                          274 (plurality opinion
                                                                               of Scalia, J.)




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    The defendants tout statements from the leaders of the state legislature that “ex-

pressly endorsed” the state judiciary’s authority to impose a map and alter the Gen-

eral Primary Calendar that had been imposed by statute. See Defs.’ Br., ECF No. 61,

at 4. But it is the Court’s job to decide whether the defendants are acting in conform-

ity with the Elections Clause and 2 U.S.C. § 2a(c), and there is no Chevron deference

accorded to the leaders of a state legislative body. More importantly, the brief sub-

mitted by the state’s legislative leaders is wrong to claim that the Supreme Court of

Pennsylvania acted to “‘remedy violations of the U.S. Constitution.’” Defs.’ Br.,

ECF No. 61 (citation omitted). The state’s old congressional map became extinct

when the President transmitted the new census and apportionment data to Con-

gress,3 and federal law required Pennsylvania to hold at-large elections until the state

had been “redistricted in the manner provided by the law thereof.” 2 U.S.C. § 2a(c).

The requirement to hold at-large elections under 2 U.S.C. § 2a(c)(5) presents no

constitutional problems under Wesberry, so there was no role for the state judiciary

to play in remedying “violations of the U.S. Constitution.” The state judiciary was

acting only to remedy the violation of 2 U.S.C. § 2c that would arise if the state failed

to enact a map, thereby triggering the at-large election provision of 2 U.S.C.

§ 2a(c)(5).

    The intervenors are likewise wrong to claim that their state-court lawsuit was

brought “to declare the 2108 congressional map unconstitutional.” Intervenors’ Br.,

ECF No. 59, at 4. The 2018 map no longer existed when the intervenors sued in



3. See 2 U.S.C. § 2a(a); 2 U.S.C. § 2a(c).


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December 2021. See 2 U.S.C. § 2a(c)(5). The only basis on which the state judiciary

could have intervened was to prevent the violation of 2 U.S.C. § 2c that would result

from at-large elections. See Branch v. Smith, 538 U.S. 254, 274–75 (2003) (plurality

opinion of Scalia, J.). But the judiciary’s role in enforcing 2 U.S.C. § 2c is limited. A

court may impose a map under 2 U.S.C. § 2c only if it can do so “without disrupting

the election process.” Id. at 275 (plurality opinion of Scalia, J.). And when a court

imposes a map under 2 U.S.C. § 2c, it “must follow the ‘policies and preferences of

the State, as expressed in statutory and constitutional provisions or in the reappor-

tionment plans proposed by the state legislature,’ except, of course, when ‘adherence

to state policy . . . detract[s] from the requirements of the Federal Constitution.’” Id.

at 274–75 (plurality opinion of Scalia, J.) (quoting White v. Weiser, 412 U.S. 783, 795

(1973)). The intervenors want to pretend as though that the state judiciary was rem-

edying a malapportionment problem with the no-longer-in-existence 2018 map, in an

effort to free the state court from the constraints of Branch and to defend the impo-

sition of the “Carter Plan”—which hews closely to the court-imposed map from

2018 rather than the “the reapportionment plans proposed by the state legislature.”

Branch, 538 U.S. at 274 (plurality opinion of Scalia, J.).

I.     The   Defendants’    And                    Intervenors’            Standing
       Objections Are Meritless
     The defendants and intervenors raise numerous attacks on the plaintiffs’ stand-

ing to assert their Elections Clause claim, none of which have merit.




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       A.     Each Of The Plaintiffs Has Standing As A Voter To Challenge The
              Defendants’ Refusal Hold At-Large Elections, As Required By The
              Elections Clause And 2 U.S.C. § 2a(c)(5)
    The plaintiffs allege that the defendants’ refusal to conduct at-large elections is

depriving them of their right to vote in all 17 of the state’s congressional races. See

Second Amended Complaint, ECF No. 49, at ¶ 53. That assuredly constitutes a

“concrete and particularized” injury sufficient to confer standing:

       We have long recognized that a person’s right to vote is “individual and
       personal in nature.” Reynolds v. Sims, 377 U.S. 533, 561 (1964). Thus,
       “voters who allege facts showing disadvantage to themselves as individ-
       uals have standing to sue” to remedy that disadvantage.
Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018); see also Reynolds v. Sims, 377 U.S. 533,

555 (1964) (“The right to vote freely for the candidate of one’s choice is of the es-

sence of a democratic society, and any restrictions on that right strike at the heart of

representative government.”); Iowa Voter Alliance v. Black Hawk County, 515 F. Supp.

3d 980, 990 (N.D. Iowa 2021) (“[T]here is no doubt that the right to vote is sacro-

sanct and that any burdens on that right are, in general, judicially cognizable inju-

ries.” (citing Gill, 138 S. Ct. at 1929)).

    The defendants and intervenors claim that the plaintiffs are asserting a mere

“generalized grievance” under Lance v. Coffman, 549 U.S. 437 (2007). But the plain-

tiffs in Lance failed to allege any injury caused by the alleged failure to comply with
the Elections Clause:

       The only injury plaintiffs allege is that the law—specifically the Elections
       Clause—has not been followed. This injury is precisely the kind of un-
       differentiated, generalized grievance about the conduct of government
       that we have refused to countenance in the past. It is quite different from
       the sorts of injuries alleged by plaintiffs in voting rights cases where we


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      have found standing. See, e.g., Baker v. Carr, 369 U.S. 186, 207–208
      (1962). Because plaintiffs assert no particularized stake in the litigation, we
      hold that they lack standing to bring their Elections Clause claim.
Id. at 442 (emphasis added). The plaintiffs in this case, by contrast, are alleging that

the defendants’ violation of the Elections Clause (and 2 U.S.C. § 2a(c)(5)) is depriv-

ing them of their right to vote in 16 of the 17 state congressional races. That is far

more than a “generalized grievance” that the law has not been followed. It explains

how the defendants’ failure to follow the law is inflicting Article III injury on the

plaintiffs—something that the plaintiffs in Lance (and the plaintiffs in Bognet v. Sec-

retary Commonwealth of Pennsylvania, 980 F.3d 336 (3d Cir. 2020)) failed to do.

    The defendants and intervenors also claim the denial of the plaintiffs’ right to

vote in all 17 congressional races is a “generalized grievance” because a similar injury

is inflicted on every voter in the Commonwealth. See Defs.’ Br., ECF No. 61, at 8
(claiming that the plaintiffs’ injuries “would be a generalized grievance, since every

voter in Pennsylvania could claim to be equally aggrieved”); Intervenors’ Br., ECF

No. 59, at 12 (“Any purported deprivation of rights, if it exists, is felt by all Pennsyl-
vania voters equally, and Plaintiffs thus lack standing.”). That is not the definition of

a “generalized grievance.” The fact that an injury is widely shared does not make an

injury nonjusticiable. See Spokeo, Inc. v. Robins, 578 U.S. 330, 339 n.7 (2016) (“The

fact that an injury may be suffered by a large number of people does not of itself make

that injury a nonjusticiable generalized grievance. The victims’ injuries from a mass

tort, for example, are widely shared, to be sure, but each individual suffers a particu-

larized harm.”). A generalized grievance arises when a plaintiff alleges “nothing more

than an abstract and generalized harm to a citizen’s interest in the proper application



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of the law.” Carney v. Adams, 141 S. Ct. 493, 498 (2020) (emphasis added). As the

Supreme Court has explained:

      [A] grievance that amounts to nothing more than an abstract and general-
      ized harm to a citizen’s interest in the proper application of the law does not
      count as an ‘injury in fact.’ And it consequently does not show standing.
      Hollingsworth, supra, at 706, 133 S. Ct. 2652; see also Lance v. Coffman,
      549 U.S. 437, 439–441 (2007) (per curiam) (describing this Court’s
      “lengthy pedigree” in refusing to serve as a forum for generalized griev-
      ances).
Id. at 498–99 (emphasis added). That is not the situation here. The defendants’ al-
leged violations of the law are inflicting injury in fact on the plaintiffs by depriving

them of their right to vote in all 17 congressional races. That other voters are equally

or similarly burdened does not convert the plaintiffs’ claim into a “generalized griev-
ance.” See Spokeo, 578 U.S. at 339 n.7.

      B.     Plaintiffs Bashir And Bognet Have Standing As Congressional
             Candidates
    The defendants claim that the uncertainty inflicted on Bashir’s and Bognet’s

campaigns fails to qualify as “certainly impending” injury under Clapper v. Amnesty

Int’l USA, 568 U.S. 398 (2013). See Defs.’ Br., ECF No. 61, at 9–10. But the defend-

ants are conflating the uncertainty of a future judicial decision with the immediate,

present-day impact on the plaintiffs’ campaigns. The particular outcome of a future

judicial decision may or may not qualify as “certainly impending” under Clapper, but

the present-day uncertainty affecting the plaintiffs’ campaigns, and the uncertainty

surrounding whether they should campaign in one location or another, is not a future




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or “impending” injury at all. It is an immediate injury that the plaintiffs are suffering

now.

    The defendants and intervenors also complain that the alleged fundraising inju-

ries depend on the independent actions of third parties not before the Court. See

Defs.’ Br., ECF No. 61, at 10–11; See Intervenors’ Br., ECF No. 59, at 13–14. But the

Supreme Court has made clear that the plaintiff may establish standing by relying on

the “predictable effect of Government action on the decisions of third parties.” De-

partment of Commerce v. New York, 139 S. Ct. 2551, 2566 (2019); see also id. (“Re-

spondents’ theory of standing thus does not rest on mere speculation about the de-

cisions of third parties; it relies instead on the predictable effect of Government ac-

tion on the decisions of third parties.”). The plaintiffs have alleged that the defend-

ants’ actions will hinder their fundraising efforts, and that factual allegation must be

assumed true at this stage of the litigation. See Manhattan Community Access Corp. v.

Halleck, 139 S. Ct. 1921, 1927 (2019) (“Because this case comes to us on a motion to

dismiss, we accept the allegations in the complaint as true.”). Whether this actually

is a “predictable effect” of the defendants’ actions is a factual question to be resolved

on summary judgment or at trial, not at the motion-to-dismiss stage. See Department

of Commerce, 139 S. Ct. at 2566 (deferring to the district court’s factfinding on the

“predictable effect” question).

    The intervenors complain that the “uncertainty” inflicted on Bashir’s and

Bognet’s campaigns is a self-inflicted harm caused by their own lawsuit,4 but that is



4. See Intervenors’ Br., ECF No. 59, at 12–13.


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wrong. The remaining plaintiffs in this case would have challenged the defendants’

actions regardless of whether Bashir and Bognet had sued, and the standing of those

plaintiffs to sue in their capacity as voters is undeniable. See supra at pp. at 6–8. So

these uncertainty harms would have befallen Bashir’s and Bognet’s campaigns re-

gardless of whether they had sued, and the Court cannot use the self-inflicted harm

doctrine to defeat their standing.

    Finally, plaintiff Bashir is assuredly suffering injury in fact from being forced to

run in an overwhelmingly Democratic district rather than statewide. The defendants

and intervenors deny that a candidate for office has standing to challenge the makeup

or boundaries of the district in which he intends to run, but that is untenable. The

injury-in-fact test requires nothing more than an “identifiable trifle,” United States v.

Students Challenging Regulatory Agency Procedures (SCRAP), 412 U.S. 669, 689 n.14

(1973), and courts have long permitted candidates for office to sue over redistricting

decisions that adversely affect their election prospects. See, e.g., League of United

Latin American Citizens v. Perry, 548 U.S. 399, 475 (2006) (Stevens, J., concurring)

(“[T]o have standing to challenge a district as an unconstitutional partisan gerry-

mander, a plaintiff would have to prove that he is either a candidate or a voter who

resided in a district that was changed by a new districting plan.”). The defendants

and intervenors complain that a candidate or representative lacks a “legally cogniza-

ble interest” in the composition of his district, but whether an interest is legally pro-

tected goes to the merits, not standing. See Cottrell v. Alcon Laboratories, 874 F.3d 154,

164 (3d Cir. 2017); In re Special Grand Jury 89-2, 450 F.3d 1159, 1172 (10th Cir. 2006)

(“[A] plaintiff can have standing . . . even though the interest would not be protected


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by the law in that case”). The injury-in-fact test asks only whether a plaintiff has been

affected in a concrete and particularized way by the defendants’ actions, and a con-

gressional candidate who is forced to run in a less favorable district easily satisfies

that test. Corman v. Torres, 287 F. Supp. 3d 558, 569–70 (M.D. Pa. 2018), failed to

apply the injury-in-fact test and asked instead whether a legislator has a “legally cog-

nizable interest in the composition of the district he or she represents”—an inquiry

that wrongfully conflates a merits-based question with Article III standing analysis.

      C.     Plaintiff Alan M. Hall Has Standing As A Member Of The
             Susquehanna County Board Of Elections
    Plaintiff Alan Hall has standing because the defendants’ actions are forcing him

to administer elections in violation of the Constitution and compressing his window

of time to prepare and send overseas military ballots as required by federal law. The

defendants deny that Mr. Hall can establish standing based on his claim that the de-

fendants are compelling him to act unlawfully, but the Supreme Court endorsed this

theory of standing in Board of Education of Central School District No. 1 v. Allen, 392

U.S. 236 (1968), as the defendants acknowledge in their brief. See id. at 241 n.5 (“Ap-

pellants have taken an oath to support the United States Constitution. Believing

§ 701 to be unconstitutional, they are in the position of having to choose between

violating their oath and taking a step—refusal to comply with § 701—that would be

likely to bring their expulsion from office and also a reduction in state funds for their

school districts. There can be no doubt that appellants thus have a ‘personal stake in

the outcome’ of this litigation.”); Defs.’ Br., ECF No. 61, at 13–14 (acknowledging

Allen in a “but see” citation).



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    The defendants want this Court to disregard Allen in favor of lower-court deci-

sions that take a more skeptical view of oath-of-office standing. See Defs.’ Br., ECF

No. 61, at 13. But even those decisions hold only that the alleged violation of one’s

oath—standing alone—is insufficient to confer standing. See, e.g., Crane v. Johnson,

783 F.3d 244, 253 (5th Cir. 2015) (“[T]he violation of one’s oath alone is an insuffi-

cient injury to support standing.”) (emphasis added); City of S. Lake Tahoe v. Cali-

fornia Tahoe Reg’l Plan. Agency, 625 F.2d 231, 236, 237 (9th Cir. 1980) (“Apart from

the highly speculative potential exposure to civil liability which we discuss infra, the

councilmembers will lose nothing by enforcing the CTRPA’s ordinances save an ab-

stract measure of constitutional principle. No consequences, save those of con-

science self-imposed by the councilmembers’ personal beliefs, flow from the viola-

tion of the oath in performance of a statutory duty.”). Mr. Hall is alleging more than

the mere violation of his oath. He is alleging that the defendants’ actions are not only

forcing him to violate the law but also compressing his window of time for preparing

and mailing overseas military ballots. Neither the defendants nor the intervenors
acknowledges or discusses this additional injury.

      D.     The Defendants’ Causation-And-Redressability Objections Are
             Meritless
    The defendants argue that the plaintiffs have failed to plead causation and re-

dressability because (according to the defendants) the plaintiffs are not entitled to at-

large elections under Branch v. Smith, 538 U.S. 254 (2003). That goes to the merits

and has nothing to do with standing. The standing inquiry is not concerned with

whether the plaintiffs are legally entitled to the relief that they request. Instead, a



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Court is to assume that the plaintiffs will prevail on the merits, and ask whether the

requested relief will redress the plaintiffs’ injuries. See Simon v. Eastern Ky. Welfare

Rights Org., 426 U.S. 26, 38 (1976) (“[T]he relevant inquiry is whether . . . the plain-

tiff has shown an injury to himself that is likely to be redressed by a favorable decision.”

(emphasis added)); Larson v. Valente, 456 U.S. 228, 244, n.15 (1982) (“[A] plaintiff

satisfies the redressability requirement when he shows that a favorable decision will

relieve a discrete injury to himself.”). A “favorable decision” from this Court will

result in at-large elections and a restoration of the statutory General Primary Calen-

dar that the state supreme court suspended and modified. Neither the defendants

nor the intervenors deny that this requested relief will remedy the alleged injuries

that the defendants are inflicting on the plaintiffs.

    For what it’s worth, the defendants are also wrong to claim that Branch rejected

the plaintiffs’ interpretation of 2 U.S.C. § 2a(c). The plaintiffs readily acknowledge

that Branch allows courts to remedy violations of 2 U.S.C. § 2c by drawing single-

member districts—including in situations where 2 U.S.C. § 2a(c)(5) purports to re-

quire at-large elections. See Branch, 538 U.S. at 266–72 ; id. at 273–75 (plurality opin-

ion of Scalia, J.). But a court may not invoke 2 U.S.C. § 2c at the expense of 2 U.S.C.

§ 2a(c)(5) if doing so would “disrupt[] the election process.” Id. at 275 (plurality

opinion of Scalia, J.). And a court that imposes a map under 2 U.S.C. § 2c “must

follow the ‘policies and preferences of the State, as expressed in statutory and con-

stitutional provisions or in the reapportionment plans proposed by the state legisla-

ture,’ except, of course, when ‘adherence to state policy . . . detract[s] from the re-

quirements of the Federal Constitution.’” Id. at 274–75 (plurality opinion of Scalia,


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J.) (quoting White v. Weiser, 412 U.S. 783, 795 (1973)). The Pennsylvania Supreme

Court flouted each of these requirements. It “disrupt[ed] the election process” (and

violated the Elections Clause) by “suspending” the General Primary Calendar in its

order of February 9, 2022, and by “altering” that statutory calendar in its order of

February 23, 2022. Worse, the state supreme court decided to impose the “Carter

Plan” at the expense of the “reapportionment plan[] proposed by the state legisla-

ture,” which violates the Supreme Court’s instruction to follow the “policies and

preferences of the State, as expressed in statutory and constitutional provisions or in

the reapportionment plans proposed by the state legislature.” White v. Weiser, 412

U.S. 783, 795 (1973). So the plaintiffs’ attacks on the legality of the court-imposed

map and insistence on at-large elections under 2 U.S.C. § 2a(c)(5) are entirely con-

sistent with Branch. But this irrelevant to standing, so the Court should not resolve
that issue at this stage of the litigation.

       E.     The Defendants’ Cause-Of-Action Arguments And                        The
              Intervenors’ Prudential-Standing Objections Are Meritless
    The defendants and intervenors claim that the plaintiffs cannot assert claims un-

der the Elections Clause—even if they can establish Article III standing—because

(in their view) these claims may be asserted only by the state legislative body and not

by other individuals who are harmed by the defendants’ violation of the Elections

Clause and 2 U.S.C. § 2a(c)(5). The defendants claim that the plaintiffs lack a “cause

of action,” while the intervenors say that the plaintiffs lack “prudential standing,”

but they are essentially making the same argument: That violations of the Elections




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Clause may be asserted only by the state legislative body whose constitutional pre-

rogatives have been infringed.

    This argument is wrong for many reasons. First, the plaintiffs are asserting vio-

lations of both the Elections Clause and 2 U.S.C. § 2a(c)(5), and the defendants and

intervenors present no argument that violations of 2 U.S.C. § 2a(c)(5) may be as-

serted only by state legislatures and not by individuals who suffer harm on account

of the statutory violation. The defendants correctly observe that 2 U.S.C. § 2a(c)(5)

does not create a private right of action,5 but the plaintiffs may assert violations of

federal statutes under 42 U.S.C. § 1983 even when the underlying statute fails to con-

fer a cause of action itself—so long as that federal statute may be said to create

“rights.” See Maine v. Thiboutot, 448 U.S. 1, 6 (1980). A statute that creates an enti-

tlement to vote for every member of a state’s congressional delegation indisputably

confers “rights” enforceable through 42 U.S.C. § 1983, and the defendants cite no

authority to the contrary. The plurality opinion in Branch, which the defendants cite,

never even considers this question. See Branch, 538 U.S. at 275 (plurality opinion of

Scalia, J.).

    Second, there has long existed a cause of action in equity that allows individuals

to seek injunctive relief against state and federal officers who violate the Constitution

or federal statutes. See Armstrong v. Exceptional Child Center, Inc., 575 U.S. 320, 327

(2015) (“The ability to sue to enjoin unconstitutional actions by state and federal


5. See Defs.’ Br., ECF No. 61, at 17; Branch, 538 U.S. at 300 (O’Connor, J., dissent-
   ing) (“Sections 2a(c) and 2c do not create independently enforceable private
   rights of action themselves.”)


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officers is the creation of courts of equity, and reflects a long history of judicial review

of illegal executive action, tracing back to England.”); Ex parte Young, 209 U.S. 123,

155–56 (1908). This allows the plaintiffs to sue the defendants both for their viola-

tions of the Elections Clause and for their violations of 2 U.S.C. § 2a(c)(5). The de-

fendants argue that the Court should carve out Elections Clause claims from this

longstanding equitable cause of action because the Elections Clause (in the defend-

ants’ view) is designed to protect only the institutional prerogatives of state legisla-

tures rather than the individual interests asserted by the plaintiffs in this litigation.

See Defs.’ Br., ECF No. 61, at 16. But it is untenable to claim that a constitutional

provision concerning federalism or separation-of-powers may be asserted only by the

institution of government whose prerogatives have been infringed. In the line-item

veto case, the Court had no hesitation allowing lawsuits by entities harmed by the

President’s targeted “cancellation” of federal statutory provisions, even though the

relevant constitutional provisions were designed to protect Congress’s institutional

prerogatives against lawmaking by executive decree. See Clinton v. City of New York,

524 U.S. 417, 434–36 (1998). All that mattered was whether the plaintiffs could show

injury from the allegedly unlawful action. See id. (“Once it is determined that a par-

ticular plaintiff is harmed by the defendant, and that the harm will likely be redressed

by a favorable decision, that plaintiff has standing — regardless of whether there are

others who would also have standing to sue.”). Individual litigants have always been

granted standing to seek declaratory or injunctive relief against officers who violate

(or allegedly violate) constitutional provisions concerning federalism or separation of

powers. See, e.g., Gonzales v. Raich, 545 U.S. 1 (2005); Bowsher v. Synar, 478 U.S. 714,


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721 (1986). No different result should obtain here. And neither the defendants nor

the intervenors present any argument for excluding 2 U.S.C. § 2a(c)(5) violations

from the equitable cause of action recognized in Ex parte Young.

      Finally, the defendants are simply wrong to claim that the Elections Clause serves

only to protect the institutional prerogatives of the state legislature. It also protects

the interests of the citizenry by ensuring that state redistricting decisions are made

by politically accountable legislatures rather than judges. There is no basis in reason

to prohibit private individuals from seeking declaratory or injunctive relief against

officers who violate the Election Clause—any more than officers who violate other

constitutional provisions—so long as the plaintiffs can satisfy the constitutional

standing requirements of Article III.

II.     The Defendants’ Laches Argument Is Incompatible
        With Branch
      The defendants and intervenors accuse the plaintiffs of lying in wait to spring

their lawsuit, and they insist throughout their briefs that the plaintiffs should have

sued weeks or months earlier than they did. The Court needs only to read Branch v.

Smith to see how nonsensical this claim is. Under Branch, the state judiciary is allowed

to impose a court-drawn map to enforce the single-member districting requirement

of 2 U.S.C. § 2c. See Branch, 538 U.S. at 266–72 ; id. at 273–75 (plurality opinion of

Scalia, J.). So the state courts were doing nothing wrong by considering the redistrict-

ing lawsuits or deciding that they would impose a new map if the state legislature

failed to redistrict in time for the primary elections. All of this was being done pur-

suant to an Act of Congress, so none of it violated the Elections Clause. See U.S.



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Const. art. I, § 4, cl. 1 (“The Times, Places and Manner of holding Elections for

Senators and Representatives, shall be prescribed in each State by the Legislature

thereof; but the Congress may at any time by Law make or alter such Regulations, except

as to the Places of chusing Senators.” (emphasis added)). It does not violate the Elec-

tions Clause for the Pennsylvania judiciary to impose a court-drawn map to prevent

a violation of 2 U.S.C. § 2c, so long as the judiciary complies with Branch when doing

so.

      The state supreme court did not violate the Elections Clause until it decided to

“suspend” the General Primary Calendar in its order of February 9, 2022. That vio-

lated the Elections Clause because there is no federal statute that authorizes a state

court to alter or suspend the statutory deadlines and timetables established by the

state legislature. It also revoked any authority that the state supreme court had to

impose single-member districts under 2 U.S.C. § 2c, because Branch allows a court

to enforce 2 U.S.C. § 2c at the expense of 2 U.S.C. § 2a(c)(5) only when it can do so

“without disrupting the election process.” Branch, 538 U.S. at 275 (plurality opinion

of Scalia, J.). At that point, the state supreme court’s actions demonstrating the im-

possibility of drawing a map without “disrupting the election process” and violating

the Elections Clause, and it triggered the at-large fallback regime of 2 U.S.C.

§ 2a(c)(5). The plaintiffs had no case before the state supreme court’s order of Feb-

ruary 9, 2022, because the defendants and the state judiciary had been acting lawfully

and in compliance with Branch up until that point.

      The plaintiffs moved with alacrity as soon as the state supreme court violated

Branch and the Elections Clause by suspending the primary calendar. They sued on


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February 11, 2022—only two days after the state supreme court’s order of February

9, 2022. The plaintiffs cannot be faulted for failing to file sooner because their lawsuit

would have run headlong into Branch and faced an immediate dismissal (if not possi-

ble sanctions). The defendants and intervenors seem to think that we’re claiming that

the state judiciary can never draw maps under the Elections Clause. That is not our

argument. The plaintiffs readily acknowledge that the state judiciary can draw maps

to: (1) Remedy constitutional violations; and (2) Prevent violations of 2 U.S.C. § 2c,

so long as they do consistent with Branch. The state judiciary was acting in a manner

consistent with Branch until February 9, 2022.

    Finally, the defendants’ Purcell argument is not an argument for dismissal, but a

reason to withhold injunctive relief on the even on an election. The primary election

is more than two months away, and the defendants cite no authority that applies the
Purcell principle that far away from an election.

III. The Intervenors’ Remaining Arguments Are Meritless
    The plaintiffs’ claims are not moot because they allege that the court-imposed

map is unconstitutional, and that the state therefore has not been “redistricted in the

manner provided by the law thereof” within the meaning of 2 U.S.C. § 2a(c). The

plaintiffs may or may not be right on the merits of this assertion, but their claims are

assuredly not moot.

    The intervenors are also wrong to claim that Branch forecloses the plaintiffs’
claims, but they are wrong. The state supreme court violated Branch because: (1) It




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was too late to impose a court-drawn map without “disrupting the election process,”6

as evidenced by the Court’s decision to “suspend” and later “modify” the General

Primary Calendar in violation of the Elections Clause; and (2) The “Carter Plan”

imposed by the Court failed to “follow the policies and preferences of the State, as

expressed in statutory and constitutional provisions or in the reapportionment plans

proposed by the state legislature.” Branch, 538 U.S. at 274 (plurality opinion of

Scalia, J.). The Carter Plan is also malapportioned in violation of Wesberry v. Sanders.

That triggers the at-large fallback in 2 U.S.C. § 2a(c)(5), and the defendants are re-

quired to implement at-large elections because the state has not been “redistricted in
the manner provided by the law thereof.” 2 U.S.C. § 2a(c).

                                 CONCLUSION
    The motions to dismiss for lack of subject-matter jurisdiction should be denied.

                                         Respectfully submitted.

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6. Branch, 538 U.S. at 275 (plurality opinion of Scalia, J.).


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                       CERTIFICATE OF SERVICE
    I certify that on March 4, 2022, I served this document through CM/ECF, upon:

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